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                                   6                                UNITED STATES DISTRICT COURT

                                   7                             NORTHERN DISTRICT OF CALIFORNIA

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                                   9    MICHAEL B. WILLIAMS,                              Case No. 03-cv-05147-MMC
                                                      Petitioner,
                                  10
                                                                                          ORDER DENYING PETITIONER’S
                                                v.                                        THIRD MOTION FOR
                                  11
                                                                                          RECONSIDERATION; DENYING
                                  12    STEPHEN W. MAYBERG, et al.,                       MOTION FOR APPOINTMENT OF
Northern District of California




                                                                                          COUNSEL
 United States District Court




                                                      Respondent.
                                  13
                                                                                          Re: Doc. Nos. 71, 72
                                  14

                                  15          On November 21, 2003, petitioner, a civil detainee confined at Atascadero State
                                  16   Hospital pursuant to California Welfare and Institutions Code § 6602, filed the above-
                                  17   titled petition for a writ of habeas corpus pursuant to 28 U.S.C. § 2254, challenging a
                                  18   1991 state court conviction. On November 8, 2004, respondent’s motion to dismiss the
                                  19   petition as untimely was granted, judgment was entered in respondent’s favor, and the
                                  20   case was closed. This Court and the Ninth Circuit Court of Appeals thereafter denied
                                  21   petitioner’s request for a certificate of appealability.
                                  22          Subsequently, petitioner filed in district court, a motion for reconsideration
                                  23   pursuant to Rule 60(b) of the Federal Rules of Civil Procedure, which was denied on April
                                  24   27, 2007, after which ruling petitioner filed a request for a certificate of appealability,
                                  25   which was denied by both this Court and the Court of Appeals.
                                  26          Petitioner next filed a second motion for reconsideration pursuant to Rule 60(b),
                                  27   which motion was denied on August 3, 2010, after which both this Court and the Court of
                                  28   Appeals again denied petitioner’s request for a certificate of appealability.
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                                   1          Now pending before the Court is petitioner’s third motion for reconsideration of the

                                   2   Court's 2004 order dismissing the petition as untimely. The instant motion was filed

                                   3   October 6, 2017, and seeks relief pursuant to Rule 60(d)(1).

                                   4          Petitioner’s reliance on Rule 60(d)(1) is misplaced. Rule 60(d)(1) provides that

                                   5   Rule 60 "does not limit a court’s power to . . . entertain an independent action to relieve a

                                   6   party from a judgment, order, or proceeding.” Fed. R. Civ. P. 60(d)(1). Petitioner,

                                   7   however, does not seek to file an independent action; rather he seeks relief from a prior

                                   8   order issued in the same action he filed almost fourteen years ago.

                                   9          Moreover, to the extent petitioner may be seeking leave to file an independent

                                  10   action, it would be a second or successive petition pursuant to 28 U.S.C. § 2244(b)(2),

                                  11   and the Ninth Circuit has denied petitioner’s request to file a second or successive

                                  12   petition. (See Doc. No. 57 (Order of USCA, filed Aug. 11, 2010).) To the extent
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 United States District Court




                                  13   petitioner may be seeking relief pursuant to Rule 60(b), he has not, as previously

                                  14   discussed by the Court in ruling on the prior motions for reconsideration, presented a

                                  15   basis for reconsideration of the dismissal. (See Order Den. Mot. for Recons., filed Apr.

                                  16   27, 2007, at 2:11-3:5; Order Den. Pet'r's Second Mot. for Recons., filed Aug. 3, 2010, at

                                  17   2:23-3:4.)

                                  18          In connection with his motion for reconsideration, petitioner also has filed a motion

                                  19   for appointment of counsel. The Sixth Amendment right to counsel does not apply in

                                  20   habeas actions, see Knaubert v. Goldsmith, 791 F.2d 722, 728 (9th Cir. 1986), but,

                                  21   pursuant to statute, a district court is authorized to appoint counsel to represent a habeas

                                  22   petitioner whenever “the court determines that the interests of justice so require," see 18

                                  23   U.S.C. § 3006A(a)(2)(B), and such person is "financially unable to obtain adequate

                                  24   representation,” see id. § 3006A(a). Here, petitioner’s claims have been adequately

                                  25   presented in the petition and in his recent filings, and there is nothing before the Court to

                                  26   suggest the interests of justice otherwise require the appointment of counsel.

                                  27          Accordingly, petitioner's third motion for reconsideration and motion for

                                  28   appointment of counsel are, in each instance, hereby DENIED.
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                                   1         Lastly, as petitioner has not shown “that jurists of reason would find it debatable"

                                   2   whether the Court was correct in its ruling, see Slack v. McDaniel, 529 U.S. 473, 484

                                   3   (2000), a certificate of appealability is hereby DENIED.

                                   4          IT IS SO ORDERED.

                                   5   Dated: October 24, 2017

                                   6
                                                                                              MAXINE M. CHESNEY
                                   7                                                          United States District Judge
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Northern District of California
 United States District Court




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